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                           UNITED STATES DISTRICT COURT FOR

                                  THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                  Plaintiff,          )                           8:07CR451
                                      )
            v.                        )
                                      )
ELEAZAR PEREZ-DOMINGUEZ,              )                        FINAL ORDER OF
MARION RODRIGUEZ,                     )                          FORFEITURE
                                      )
                          Defendants. )
____________________________________)


               This matter is before the Court upon the United States’ Motion for Final Order of

Forfeiture (Filing No. 56). The Court has reviewed the record in this case and finds as follows:

               1. On April 9, 2008, the Court entered a Preliminary Order of Forfeiture pursuant

to the provisions of Title 21, United States Code, Sections 846 and 853, based upon the defen-

dants’ pleas of guilty to Counts I and VI of the Indictment filed herein. By way of said Prelimi-

nary Order of Forfeiture, the defendants’ interest in $260.00 in United States currency, was

forfeited to the United States.

               2. On May 1, 8 and 15, 2008, the United States published in a newspaper of

general circulation notice of this forfeiture and of the intent of the United States to dispose of the

property in accordance with the law, and further notifying all third parties of their right to petition

the Court within the stated period of time for a hearing to adjudicate the validity of their alleged

legal interest(s) in said property. An Affidavit of Publication was filed herein on June 13, 2008

(Filing No. 55).
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               3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

               4. Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

Accordingly,

               IT IS ORDERED:

               A. Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

               B. All right, title and interest in and to the $260.00 in United States currency,

held by any person or entity, is hereby forever barred and foreclosed.

               C. The $260.00 in United States currency, be, and the same hereby is, forfeited to

the United States of America .

               D. The United States Marshals Service for the District of Nebraska is directed to

dispose of said properties in accordance with law.

               DATED this 16th day of June, 2008.

                                              BY THE COURT:

                                              /s/ Lyle E. Strom
                                              ________________________________
                                              LYLE E. STROM, Senior Judge
                                              United States District Court
